                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION

                                     DOCKET NO. 5:15CR77

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )             PRELIMINARY
               v.                                 )          ORDER OF FORFEITURE
                                                  )
(2) IRVING E. RODRIGUEZ-MUNGUIA,                  )
                                                  )
                       Defendant.                 )


       As a result of the guilty plea of the defendant to the violation stated in the Bill of

Indictment, for which the United States sought forfeiture pursuant to 21 U.S.C. § 853, 18 U.S.C.

§ 982, and 28 U.S.C. § 2461(c), the defendant shall forfeit to the United States all property

constituting or derived from any proceeds the defendant obtained, directly or indirectly, as a result

of such violation; and/or all property involved in, used, or intended to be used in any manner or

part to commit or facilitate the commission of the violation.

       The Court has determined, based on the Bill of Indictment and the guilty plea of the

defendant, that the below-described property is subject to forfeiture pursuant to 21 U.S.C. § 853,

18 U.S.C. § 924(d), 28 U.S.C. § 2461(c) and that the government has established the requisite

nexus between such property and such violations and that the defendant had an interest in the

property.

       It is therefore ORDERED:

       1. The following property is hereby forfeited to the United States for disposition



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according to law, subject to the provisions of 21 U.S.C. § 853(n):

               Baikai IJ-70 handgun (serial number A-AH6725)
               Ruger P89DC 9mm handgun (serial number 307-56145)
               Ammunition

        2. The Attorney General (or a designee) is authorized to seize the forfeited property subject

to forfeiture; to conduct any discovery proper in identifying, locating, or disposing of the property;

and to commence proceedings that comply with any statutes governing third party rights. Fed. R.

Crim. P. 32.2(b)(3).

        3. Pursuant to 21 U.S.C. § 853(n)(1) and Fed. R. Crim. P. 32.2(b)(6), the United States

shall post on an official government internet site (www.forfeiture.gov), for at least 30 consecutive

days, notice of this order and of its intent to dispose of the property in such a manner as the United

States may direct. The United States may also, to the extent practicable, provide direct written

notice of this forfeiture.

        4. Any person, other than the defendant, having or claiming a legal interest in any of the

above-listed forfeited property may, within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of the petitioner=s alleged interest in the property, and for an amendment

of the order of forfeiture pursuant to 21 U.S.C. § 853(n). The petition shall be signed by the

petitioner under penalty of perjury and shall set forth the nature and extent of the petitioner=s right,

title or interest in each of the forfeited properties; the time and circumstances of the petitioner=s

acquisition of the right, title, or interest in the property; and any additional facts supporting the

petitioner=s claim and the relief sought. 21 U.S.C. § 853(n)(2) and (3).

        5. After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(1)(A) and before

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a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of

Civil Procedure upon a showing that such discovery is necessary or desirable to resolve factual

issues.

          6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, upon entry of

this Order of Forfeiture, the United States Attorney's Office is authorized to conduct any discovery

needed to identify, locate or dispose of the property, including depositions, interrogatories,

requests for production of documents and to issue subpoenas, pursuant to Rule 45 of the Federal

Rules of Civil Procedure.

          7. Upon adjudication of third-party interests, if any, this Court will enter a final Order of

forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2).

          8. If no third party files a timely claim, this preliminary Order of forfeiture shall become

the final Order of forfeiture and shall be made part of the sentence and included in the judgment,

as provided by Fed. R. Crim. P. 32.2(b)(4) and 32.2(c)(2).

          9. The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

 Signed: June 30, 2016




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